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                                                            Exhibit
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15                        UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17   JEFFREY POWERS et al.,                     Case No.: 2:22-cv-08357 DOC (JEMx)
18               Plaintiffs,                    Hon. David O. Carter
19   v.                                         BRIEF OF AMICUS CURIAE
20
                                                SWORDS TO PLOWSHARES
     DENIS RICHARD MCDONOUGH,
21
     in his official capacity as Secretary of
     Veterans Affairs, et al.,
22
                                                Compl. filed:    Nov. 15, 2022
                 Defendants.                    Trial Date: None set
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 1                         INTEREST OF AMICUS CURIAE
 2         Founded in 1974, amicus curiae Swords to Plowshares (“Swords”) is a
 3   community-based not-for-profit organization in San Francisco that provides
 4   needs assessment and case management, employment and training, housing,
 5   and legal assistance to veterans—particularly veterans who are low-income,
 6   experiencing housing insecurity, and living with mental health conditions.
 7   Swords promotes and protects the rights of veterans through advocacy,
 8   public education, and partnerships with local, state, and national entities, as
 9   well as direct representation of veterans before the Department of Veterans
10   Affairs (“VA”) and other government agencies. In its legal work, Swords
11   assists veterans at every level of the VA adjudicatory system to obtain both
12   benefits and access to healthcare. In its housing work, Swords helps veterans
13   find emergency and temporary shelter and transitional housing, provides
14   permanent supportive housing to 400 veterans, and offers rent support and
15   eviction prevention services.
16         Through its work, Swords has found that Article III courts are an
17   important venue for advancing veterans’ interests, and that such courts are
18   the only place where veterans and veterans’ advocacy groups can bring
19   claims under federal laws to challenge systemic VA non-adjudicatory policies
20   and practices. Swords has an interest in preserving such access to Article III
21   courts and frequently files amicus briefs before the U.S. Courts of Appeals
22   and other courts in an effort to do so.
23                                   INTRODUCTION
24         Veterans’ disability benefits reflect our nation’s fundamental promise to
25   care for those who have served. See Noah v. McDonald, 28 Vet. App. 120, 130
26   (2016). That promise is broken when VA’s policy decisions and inactions
27   cause disabled veterans to face financial hardships, homelessness, increased
28   health problems, and other adversities. This is one of those cases: Despite
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 1   their obligations to provide permanent supportive housing and other services
 2   on the West Los Angeles Medical Center & Community Living Center
 3   Grounds, Defendants have failed to do so. As relevant here, Plaintiffs
 4   challenge that failure under Section 504 of the Rehabilitation Act of 1973, and
 5   the VA Defendants1 have argued that 38 U.S.C. § 511 deprives the Court of
 6   jurisdiction. ECF 37. In their motion, the VA Defendants argue that Plaintiffs’
 7   Rehabilitation Act causes of action cannot be brought in an Article III federal
 8   district court. But that leaves open the question: if not here, then where?
 9         The answer is not that such claims can be brought to VA itself, at least
10   not to VA’s claims adjudication process, which is limited to deciding whether
11   an individual claimant is entitled to veterans’ benefits, and Rehabilitation Act
12   complaints are not claims seeking entitlement to any benefit under laws
13   administered by VA. Thus, neither VA’s claims adjudication process nor the
14   courts set up to review final decisions from that process have the ability or
15   authority to consider and resolve Rehabilitation Act complaints. Were the
16   Court to decide that § 511 deprives it of jurisdiction to consider Plaintiffs’
17   Rehabilitation Act causes of action, veterans would have no judicial forum
18   available to bring them. It cannot be that veterans are denied access to all
19   courts for relief from violations of a statute that Congress intended to apply
20   to all federal agencies.
21         In enacting § 511, however, Congress did not intend to leave veterans
22   and veterans’ advocacy groups without any forum to challenge VA’s
23   systemic, non-adjudicatory policies and practices. Indeed, a primary purpose
24   of the Veterans Judicial Review Act (“VJRA”), which established appellate
25   review of VA claims decisions, was to strengthen veterans’ due-process rights
26   1 The VA Defendants are Denis McDonough, in his official capacity as
     Secretary of Veterans Affairs, Steven Braverman, in his official capacity as
27   Director of VA Greater Los Angeles Healthcare System, and Keith Harris, in
     his official capacity as Senior Executive Homelessness Agent, VA Greater Los
28   Angeles Healthcare System.
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 1   as it pertains to those decisions. A ruling that eliminates access to any court
 2   for Rehabilitation Act complaints would run contrary to that purpose.
 3   Accordingly, because VA’s claims process cannot consider and decide the
 4   Rehabilitation Act causes of action, the Court must to exercise jurisdiction
 5   over them.
 6                                    BACKGROUND
 7         VA’s primary function is to support and serve veterans—as well as
 8   their survivors, dependents, and caregivers—after they leave service. VA
 9   accomplishes this function by providing benefits and services authorized by
10   Congress to eligible recipients. E.g., Henderson v. Shinseki, 562 U.S. 428, 431
11   (2011). The benefits that Congress has authorized are set forth in title 38 of the
12   U.S. Code, and many are familiar to veterans and non-veterans alike: home
13   loan guarantees, educational benefits, health care, disability compensation,
14   burial and memorial benefits, and more. See 38 C.F.R. § 20.3(e) (defining
15   “benefit” as “any payment, service, commodity, function, or status,
16   entitlement to which is determined under laws administered by [VA]
17   pertaining to veterans and their dependents and survivors”).
18         Veterans request benefits by making a “claim,” which is any “written or
19   electronic communication requesting a determination of entitlement or
20   evidencing a belief in entitlement, to a specific benefit under the laws
21   administered by [VA] submitted on an application form prescribed by the
22   Secretary.” 38 C.F.R. § 3.1(p); see also 38 C.F.R. § 20.3(f).
23         VA administers its primary function by adjudicating these claims for
24   benefits. The process has several steps. First, veterans present claims to VA
25   regional offices (“VAROs”), where they are considered by the “agency of
26   original jurisdiction” (“AOJ”), which is defined as “the [VA] activity or
27   administration … that [makes] the initial determination on a claim.” 38 C.F.R.
28   § 20.3(a). Depending on the benefit the veteran is seeking, the AOJ is one of
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 1   three divisions of VA: the Veterans Benefits Administration, the Veterans
 2   Health Administration, or the National Cemetery Administration. See id.
 3   After determining whether the applicant is entitled to the benefit, the AOJ
 4   issues a decision and gives notice to the claimant. See Henderson, 562 U.S. at
 5   431; 38 C.F.R. § 3.103(b)(1).
 6         If a veteran is dissatisfied with the AOJ’s decision, they have several
 7   options. The first is to seek de novo higher-level review (“HLR”) within the
 8   AOJ by a more experienced adjudicator who did not participate in the
 9   decision on the claim. See 38 U.S.C. § 5104B(e); 38 C.F.R. § 3.2601(e). The
10   second is to file a supplemental claim based on new or additional evidence.
11   See 38 C.F.R. §§ 3.2500(a)(2), 3.2501. Finally, the veteran may obtain de novo
12   review of the AOJ decision—whether an initial decision, a decision after
13   HLR, or a decision on a supplemental claim—by the Board of Veterans’
14   Appeals (“Board”). “The Board is a body within the VA that makes the
15   agency’s final decision in cases appealed to it.” Henderson, 562 U.S. at 431
16   (citing 38 U.S.C. §§ 7101, 7104(a)). But “the Board has no jurisdiction to
17   adjudicate [a] claim in the first instance.” Jarrell v. Nicholson, 20 Vet. App. 326,
18   331 (2006); see also Scates v. Principi, 282 F.3d 1362, 1367 (Fed. Cir. 2002) (“The
19   Board is primarily an appellate tribunal [that] serves as the deciding entity
20   ‘on appeal to the Secretary’ of a question ‘subject to decision by the Secretary’
21   under § 511(a).”) (quoting 38 U.S.C. § 511(a)).
22         Thereafter, a claimant may appeal adverse decisions to the Court of
23   Appeals for Veterans Claims (“CAVC”), an Article I court. See 38 U.S.C.
24   § 7252. CAVC reviews the “decisions of the Board,” id., and the scope of
25   review is limited to the claims and questions that the Board actually
26   considered and decided. Id. §§ 7252(b), 7261; see also King v. Nicholson, 19 Vet.
27   App. 406, 411 (2006). Claimants still aggrieved after a CAVC decision may
28   appeal to the U.S. Court of Appeals for the Federal Circuit (“CAFC”). See 38
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 1   U.S.C. § 7292. CAFC’s authority is limited to reviewing “a decision of
 2   [CAVC] on a rule of law or of any statute or regulation … or any
 3   interpretation thereof (other than a determination as to a factual matter) that
 4   was relied on by [CAVC] in making the decision.” Id. § 7292(a). CAFC
 5   decisions are “final subject to review by the Supreme Court upon certiorari.”
 6   Id. § 7292(c).
 7                                    ARGUMENT
 8         Swords agrees with Plaintiffs that the plain language of § 511, and the
 9   decisions interpreting it, do not require dismissal of their Rehabilitation Act
10   causes of action and thus does not repeat those arguments. Instead, Swords
11   emphasizes how the VA claims process is not the correct forum for any
12   Rehabilitation Act complaint, so those causes of action belong here, in federal
13   district court. It cannot be the case that veterans are deprived of any judicial
14   forum in which to present a Rehabilitation Act complaint.
15         A.     The VA claims process cannot consider or decide Plaintiffs’
16                Rehabilitation Act causes of action.
17         Considering the purpose and structure of VA’s administrative system
18   detailed above, there is no question that the process lacks legal authority to
19   decide Rehabilitation Act complaints, including Plaintiffs’ causes of action
20   here. VA’s administrative system creates a clear distinction between claims
21   for an individual veteran’s benefits, which belong in the agency’s benefits
22   adjudication system, and claims under federal statutes challenging systemic
23   VA non-adjudicatory policies and procedures, which do not.
24         First, Rehabilitation Act complaints cannot be presented to VAROs for
25   decision by the AOJ because they are not “claims” and do not seek “benefits,”
26   based on how as those terms are defined and understood by agency
27   regulations and cases interpreting them. Veterans’ benefits are authorized by
28   Congress and set forth in title 38, U.S.C. See Leddy v. O’Rourke, No. 1701555,
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 1   2018 WL 3700015, at *2 (Vet. App. July 26, 2018) (“[E]ssential requirements of
 2   any claim” includes “an identification of the benefits sought.”). Remedies
 3   under the Rehabilitation Act, such as the injunctive relief Plaintiffs seek here
 4   and compensatory damages, are not among the benefits enumerated in
 5   title 38. VA’s own regulations are consistent: The Board’s Rules of Practice
 6   lists more than two dozen examples “of the issues over which the Board has
 7   jurisdiction.” 38 C.F.R. § 20.104(a)(1)-(29), see also id. § 20.104(b). None of the
 8   listed examples include relief under federal anti-discrimination statutes like
 9   the Rehabilitation Act or the Americans with Disabilities Act (“ADA”). And
10   while the Rule’s list is not exhaustive, the issues on the list relate to an
11   individual’s entitlement to payments, programs, or services offered by VA
12   under veterans’ benefit statutes, not damages or injunctive relief under other
13   federal laws. Plaintiffs’ Rehabilitation Act causes of action do not seek a
14   “benefit under the laws administered by [VA].”2 38 C.F.R. § 3.1(p); cf. Thomas
15   v. Principi, 394 F.3d 970, 975 (D.C. Cir. 2005) (rejecting “any implication that
16   all action or inaction by the VA represents a type of ‘service,’ and therefore
17   automatically constitutes a ‘benefit’” under § 20.3(e)).
18         Similarly, CAVC decisions have used the term “claim” “to describe a
19   wide variety of circumstances,” but all involve VA-administered benefits and
20   processes. Rice v. Shinseki, 22 Vet. App. 447, 451 (2009); accord Cacciola v.
21   Gibson, 27 Vet. App. 45, 53 n.2 (2014).3 None have used the term in connection
22   2 Specifically, permanent supportive housing—the remedy Plaintiffs seek

23   under the Rehabilitation Act—is not “a specific benefit under the laws
     administered by [VA].”38 C.F.R. § 3.1(p). VA does partner with local public
24   health agencies (“PHAs”) in a program known as HUD-Veterans Affairs
     Supportive Housing (“HUD-VASH”), which provides rental assistance to
25   veterans experiencing houselessness. HUD-VASH is a program of the
     Department of Housing and Urban Development (“HUD”), not VA. See 42
26   U.S.C. § 1437f(o)(19). VA’s role is limited: designated VA medical centers
     screen veterans and their families using criteria specified in § 1437f(o)(19)(D)
27   and refer them to participating PHAs, which provide the housing assistance
     payments. VA also provides case management services to the veteran.
28   3 In Rice, CAVC discussed many uses of the term, including “original claim,”
     “claim to reopen,” “claim for increased6 compensation,” “CUE claim,” “claim
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 1   with a claim for relief under the Rehabilitation Act. Moreover, a “claim” must
 2   be presented on a “form prescribed by the Secretary,” 38 C.F.R. § 3.1(p), but
 3   there is no form for seeking relief under Rehabilitation Act. For these reasons,
 4   if a veteran were to bring a complaint under the Rehabilitation Act to a
 5   VARO, VA would not resolve it through the benefits adjudication process.
 6         VA’s internal policies confirm this understanding. VA has a written
 7   policy setting forth procedures for ensuring that its programs, activities, and
 8   facilities are accessible and comply with the Rehabilitation Act. See VA
 9   Handbook 5975.6, Compliance Procedures Implementing Section 504 of the
10   Rehabilitation Act of 1973—Nondiscrimination Based on Disability in Federally
11   Conducted Programs or Activities (Jan. 23, 2020).4 The policy establishes the
12   body within VA responsible for processing external complaints under the
13   Rehabilitation Act and sets forth the ways a veteran may file such a
14   complaint and the procedures for handling it. Id. ¶¶ 3.b(4), 4.h & Appendix F.
15   Notably, this process is distinct from that for the adjudication of claims for
16   benefits—which is covered by its own internal manuals5—thus confirming
17   that the AOJs play no role in considering and resolving Rehabilitation Act
18   complaints made to VA. Moreover, a veteran aggrieved by the outcome of
19   the internal process set out in the Handbook would still have recourse to
20   federal district courts.6 Using § 511 to preclude such recourse, as the VA
21   Defendants urge here, does not make sense.
22
     for dependency and indemnity compensation,” “claim for pension,” “claim
23   for service connection,” “claim for an earlier effective date,” “claim for TDIU”
     and others. 22 Vet. App. at 451-52; see also 38 U.S.C. § 5110(a) (setting “the
24   effective date of an award based on an initial claim, or a supplemental claim,
     of compensation, dependency and indemnity compensation, or pension”).
25   4 VA Handbook 5975.6 is available through https://www.va.gov/vapubs/.

     5 See, e.g., VBA Manual M21-1 Adjudication Procedures Manual; VBA Manual
26
     M21-5 Appeals and Reviews; VBA Manual M22-4 Education Service.
27   6 Veterans may skip the internal process, however, as “private plaintiffs suing
     under [the Rehabilitation Act] need not first exhaust administrative
28   remedies.” Smith v. Barton, 914 F.3d 1330, 1338 (9th Cir. 1990).
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 1         Second, neither the Board nor CAVC has jurisdiction to review an
 2   AOJ’s putative decision on a Rehabilitation Act complaint. As detailed above,
 3   Board jurisdiction is limited to the review of decisions made by the AOJ.
 4   Though it has authority to decide “[a]ll questions” that are necessary to its
 5   decision on the matter, 38 U.S.C. § 7104(a), the Board may not “adjudicate [a]
 6   claim in the first instance,” Jarrell, 20 Vet. App. at 331. CAVC likewise may
 7   review only final Board decisions. 38 U.S.C. § 7252. Thus, if the AOJ cannot
 8   adjudicate a complaint under the Rehabilitation Act, neither can the Board or
 9   CAVC.7 It is therefore unsurprising that CAVC has declared that “neither the
10   Board nor the Court is authorized to hear actions brought under” the
11   Rehabilitation Act or the ADA. Camacho v. Nicholson, 21 Vet. App. 360, 366
12   (2007). There could not be a clearer statement that the VA Defendants’
13   jurisdictional argument is wrong.
14         In sum, VA’s claims adjudication process cannot consider or decide
15   Plaintiffs’ Rehabilitation Act causes of action.
16         B.    Dismissing the Rehabilitation Act causes of action under § 511
17               would deprive veterans of a forum to bring them.
18         Should this Court rule that § 511 deprives it of jurisdiction over the
19   Rehabilitation Act causes of action, Plaintiffs would have no forum in which
20
     7 Arguably, under its authority to decide “[a]ll questions” necessary to its
21
     decision, the Board (and thus CAVC) could consider a veteran’s argument
22   that a particular decision of the AOJ on a claim for benefits violates the
     Rehabilitation Act. The Board appears to have done so, though rarely. See,
23   e.g., In re [Title Redacted by Agency], No. 0401835, 2014 WL 1974996 (Bd. Vet.
     App. Jan. 16, 2014) (considering argument that VA’s decision on a claim for
24   fee-basis care violated the Rehab Act); In re [Title Redacted by Agency],
     No. 0533845, 2005 WL 3924108 (Bd. Vet. App. Dec. 15, 2005) (same). (Based on
25   the factual recitations, these cases involve the same claim by a single veteran.)
     This was the situation in Traynor v. Turnage, 485 U.S. 535 (1988), the ruling the
26   VA Defendants argue prompted Congress to pass the VJRA and expand the
     scope of § 511. ECF 37-1, at 11-12. Traynor arose when an individual veteran
27   “sought review” in federal district court of a VA decision denying him
     benefits. 485 U.S. at 538-39. But unlike Traynor, Plaintiffs’ Rehabilitation Act
28   causes of action here do not allege that specific individual claims decisions
     violate the Rehabilitation Act.
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 1   to bring those claims. As set forth above, the VA claims adjudication process
 2   is not authorized to consider and decide Rehabilitation Act complaints. In
 3   turn, if the Court were to accept the VA Defendants’ flawed reading of § 511
 4   and dismiss the Rehabilitation Act causes of action, doing so would also oust
 5   Plaintiffs from this Court and other Article III courts. Based on Swords’
 6   review of prior briefing in this matter, even Defendants do not argue that
 7   there is an alternative forum available to Plaintiffs—much less that the VA
 8   claims adjudication is appropriate. There are none, and it is not.
 9         The lack of an alternative forum confirms that the Court has jurisdiction
10   here notwithstanding § 511. “[T]he availability of review by both [CAVC] and
11   [CAFC] evinces Congress’s intent to protect the federal courts and VA from
12   time-consuming veterans’ benefits litigation, while providing a specialized
13   forum [where] complex decisions about benefits can be made.” Veterans for
14   Common Sense v. Shinseki, 678 F.3d 1013, 1032 (9th Cir. 2012). Conversely,
15   then, where the claims involve a non-benefits statute—such as the
16   Rehabilitation Act here—and the VA claims process is not authorized to
17   adjudicate a complaint under that statute, the claims must be brought in
18   district court. Cf. Watson v. McDonough, No. 21-3700, 2021 WL 5316773, at *5
19   (Vet. App. Nov. 16, 2021) (CAVC lacked authority to “entertain [claimant’s]
20   allegations of error that are in furtherance of his FTCA claim”); In re Names
21   Redacted by Agency, 1992 BVA LEXIS 3662, at *2-3 (Bd. Vet. App. Feb. 25, 1992)
22   (claims under FTCA were “outside the [Board’s] jurisdiction”).
23         Moreover, were the Court to decline to exercise jurisdiction based on
24   § 511, the purposes of the statute would be frustrated. The Supreme Court
25   has explained the rationales behind § 511: to ensure that “veterans’ benefits
26   claims will not burden the courts and [VA] with expensive and time-
27   consuming litigation” and that “the technical and complex determinations
28   and applications of [VA] policy connected with veterans’ benefits decisions will
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 1   be adequately and uniformly made [by the agency].” Johnson v. Robinson, 415
 2   U.S. 361, 370 (1974) (addressing predecessor statute § 211(a) (emphasis
 3   added)). Those policy justifications simply do not apply where, as here, the
 4   asserted causes of action are not “veterans’ benefits claims.” By dismissing
 5   the Rehabilitation Act causes of action under § 511, the Court would not be
 6   deferring to VA’s and CAVC’s jurisdiction, as they have none. To the
 7   contrary, dismissal here would leave disabled veterans—unlike others with
 8   disabilities—with no judicial forum at all to bring a discrimination claim.
 9                                   CONCLUSION
10         Congress did not leave veterans without a forum to challenge how VA
11   systems operate. Because the VA claims process is not an authorized forum to
12   adjudicate Plaintiffs’ Rehabilitation Act causes of action, and Plaintiffs have
13   no other forum, the Court should decline to apply § 511 and instead decide
14   that it has jurisdiction over those causes of action. The Court can and should
15   hear this systemic challenge.
16   Dated: October 6, 2023          Respectfully submitted,
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